






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00716-CV






In re Walter Lee Hall Jr.






ORIGINAL PROCEEDING FROM TRAVIS COUNTY



	

M E M O R A N D U M   O P I N I O N



	Relator Walter Lee Hall, Jr. has filed a petition for writ of mandamus seeking relief
from the trial court's order signed January 31, 2008.  Hall already attempted to file a direct appeal
from that order, but filed his notice of appeal too late, resulting in a dismissal for want of
jurisdiction.  See Hall v. U.S. Bank Nat'l Ass'n, No. 03-08-00488-CV (Tex. App.--Austin
Dec.&nbsp;12,&nbsp;2008, pet. denied).  In his petition, Hall asked for expedited consideration of his issues. 
After delay due to Hall's having filed an insufficient affidavit of indigence, we now have turned to
the merits of his complaint.  We grant the motion for expedited consideration and deny the petition
for writ of mandamus.  We further caution Hall that he may be subject to sanctions for filing
frivolous proceedings should he file similar pleadings in this or any other proceeding in the future. 
See Tex. R. App. P. 45, 52.11.  

					__________________________________________

					David Puryear, Justice

Before Justices Puryear, Pemberton and Waldrop

Filed:   March 9, 2010


